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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs




              v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                          REPORT OF SPECIAL MASTER
                       PURSUANT TO ORDER OF REFERENCE
                   CONCERNING COUNTS CCCV THROUGH CCCVIII

                                      JOHN ARNE OLSON
                                         SGT USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongful death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                       FINDINGS OF FACT

               (1) John Arne Olson was born on April 8, 1962 in the United States of America and

was at birth and remained until his death, a citizen of the United States. Mr. Olson joined the

United States Marine Corps and on October 14, 1980 was a member of the 24th MAU, First

Battalion, 8th Regiment. John A. Olson was killed on October 23, 1983 and on November 8, 1983

the United States Marine Corps awarded him a posthumous promotion to Sergeant.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, John Arne Olson, suffered severe injuries, which

resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence from which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.

       (6) As a result of the death of John Arne Olson, his estate suffered a loss of accretions to the

estate which could have been expected to occur during the course of his anticipated life. These

losses are the subject of a report under oath from Dr. Jerome Paige and are supported by Dr.

Paige’s testimony given by videotape. They have been reduced by Dr. Paige to present value in




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accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App. 1979). Based upon the

foregoing, the amount of loss to the estate is in the amount of $1,010,497.00.

          (7) As the result of the death of John Arne Olson, his father, mother, and his siblings have

suffered and will continue to suffer severe mental anguish and the loss of society. The testimony

established that his father, mother, and siblings have never recovered from the shock and suffered

severe emotional trauma from John Arne Olson’s death in Beirut. They are participants in various

memorial programs for the victims of October 23, 1983 and are vigorous supporters of those

programs.

          SGT. JOHN ARNE OLSON (Deceased) was born on April 8, 1962, and was killed

instantly in a terrorist truck bomb explosion in the Marine Barracks in Beirut, Lebanon on October

23, 1983. John Arne Olson enlisted in the United States Marine Corps on October 14, 1980 at the

age of 18. John A. Olson was killed at the age 21 and was posthumously promoted to Sergeant in

the United States Marine Corps; he was a proud Marine. John A. Olson excelled in his Marine

training and intended to leave the military at the conclusion of his term of enlistment in 1984 and

attend college.

          This summary of the tragically short life of John Arne Olson (Deceased) is told through the

testimony of his brothers and sisters. Their testimony is supplemented by 62 Exhibits which

include letters from John to his family, letters from John’s friends to the Olson family, news

reports, and correspondence between John and Alcoholics Anonymous which documented John’s

efforts to not only overcome his alcohol dependency but his lifelong effort to help others which

lead to his final activity, he established and operated an Alcoholics Anonymous group in Beirut at

age 21.




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       Alcohol abuse in John A. Olson’s family was serious and widespread. Ronald Olson,

John’s older brother, was the first Olson to confront a drinking problem. After John graduated

from high school, but before he was accepted into the Marine Corps, John was forced to recognize

the consequences of alcoholism. John addressed his problem with his brother Ron’s help. John

joined Alcoholics Anonymous (AA) and remained active in AA for the remainder of his short life.

In addition to resolving his problem with alcohol, John dedicated his efforts to helping others

recognize and overcome alcohol abuse.

       At age 18 John A. Olson recognized that he was an alcoholic and did something about it.

This is John’s story of dedication to sobriety, membership in and commitment to Alcoholics

Anonymous, and his lifelong efforts to help others. It is a story of the transformation of an 18-

year-old kid from the upper Great Plains to a loving, responsive, and mature adult who helped

members of his family and all others who he came in contact with for the remainder of his life.

       John’s brother Ronald said John was mature beyond his years. Ronald described his

brother’s legacy with profound simplicity “John was a different type of Marine.”

       John A. Olson was born on April 8, 1962 in Moorhead, Minnesota. John was the second

youngest child of Sigurd Olson and Bertha Olson’s 11 children 1 . John enlisted in the United States

Marine Corps in high school and after graduating from Moorhead High School John began his

Marine Corps service on October 14, 1980 at the age of 18. John A. Olson was killed in Beirut on

October 23, 1983 in his 21st year of life.

       John was popular in high school, he was a member of the wrestling team, liked

woodworking, and loved all outside activities including hunting, fishing, and skiing. John’s sister,

Julia, testified that John was a happy-go-lucky guy, helpful, kind, and an all-around American boy.

John’s sister Mary testified that John liked to party and he challenged his parents.




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           After John graduated from high school, and two days before he was to report to the

Marines, John put his hand through a plate glass window. John’s enlistment was immediately put

on probation until his wound healed. At 18 years of age, John recognized that he had an alcohol

problem and, with the help of his brother Ron, John joined AA and began a lifelong commitment to

sobriety. When his wound healed and the Marines became aware of John’s commitment he was

allowed to enlist.

           John’s parents visited him at graduation from Marine boot camp. John visited Puerto Rico,

Rota, Spain, Marseilles, Tel Aviv and Athens before his deployment to Beirut. John made many

friends in the Marine Corps and they wrote to John’s family after his death to share their memories

and express their love. Exhibit 32 is a letter from Dan Joy to the Olson family dated August 29,

1987. Mr. Joy was a friend of John’s, felt compelled to tell John’s family how much he loved John

as a brother. He attached a letter from another of John’s friends, Chip Meyers. Exhibit 33 is the

letter from Chip Meyers to Dan Joy dated October 27, 1983. It reflects Mr. Meyers’ concern for

John’s safety and shares his respect for John. Some of John’s friends made the effort to travel to

Sabin, Minnesota to meet his family in person.

           John was deployed to Beirut at age 21 and he was not able to locate a local AA group. John

A. Olson took the initiative and contacted Alcoholics Anonymous and established the first AA

organization in Beirut. Exhibit 48 is the correspondence between John and the General Service

Office of Alcoholics Anonymous. The letters were so inspirational that they were published in

their publication, “The Grapevine,” in 1984, after his death.         Some years latter, Alcoholics

Anonymous published a book with the 100 most inspirational articles and the letters and story of

John A. Olson were recounted.



1
    An 11th child, Richard Olson, died at birth.


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       John A. Olson requested and was selected to serve as Chaplain Danny Wheeler’s assistant

in Beirut. His duties included being the Chaplain’s bodyguard and assisting the Chaplain in

meeting the religious needs of the Marine Amphibious Unit.

       John did not intend to make a career in the Marine Corps and he was scheduled to complete

his service in 1984. There is a difference of opinion among John’s brothers and sisters about his

career plans. Some believe that John would have joined his father and brothers in the family

plastering business. Others believe that John experienced a fundamental transformation during his

short life caused by his experiences as a recovering alcoholic, his involvement with Alcoholics

Anonymous, and his last duty assignment as a Chaplain’s assistant. John’s brothers and sisters

testified to conversations with John indicating his interest in a career in counseling or the ministry.

Every one of John’s brothers and sisters believe their brother developed a spiritual awareness while

in the Marine Corps and all agree that John was highly intelligent and planned to go on to college

after his discharge.

       John’s grandfather’s birthday is on October 23rd and on October 23, 1983 he was 93.

John’s grandfather was a veteran of World War 1 and at John’s funeral he told the Olson family

that it should have been him who died.

       John’s body was returned for burial and the Olson family held a private, open casket,

viewing for John. Those brother’s and sister’s who participated in the viewing all testified that the

corpse was reconstructed to look like John but only parts of his body were recovered. The family

learned that John was identified through dental records.

       SIGURD OLSON (Deceased) was the father of John A. Olson’s (Deceased) and died in

January 2001. Sigurd Olson was a U.S. Army combat veteran from World War II and served in

Okinawa, Japan. His children testified that he was a good and very loving father to each of them.




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His children also indicate that the Olson family was dysfunctional from time-to-time because of

alcoholism.

       Every one of Sigurd Olson’s children fondly recalls that at one time or another they all were

recruited and worked in the family plastering business. The Olson children described their father

as an avid outdoorsman who liked hunting and fishing and shared this interest with John. John’s

brothers and sisters all testified that John and his father had a very close relationship.

       On October 23, 1983, Sigurd Olson heard the news reports of the Beirut bombing but he

and the family thought John survived because they continued to get letters from John after the

explosion. As a Chaplain’s assistant, many members of the Olson family thought John was busy

helping others and didn’t have the opportunity to call home. On Wednesday, October 26th, the

Olson family was notified that the Marines listed John as missing in action. The next Sunday the

Olson family was notified that John was killed in action. John’s sister Susan testified that when the

Marines came to notify the Olson family of John’s death her Father was sleeping at the family

dinning table. Susan testified that when the Marines told her father of the death of his son it was

the first time she saw her father cry. The Olson family testified that their father was not an

emotional man; he was not the touchy-feely type.

       The Olson family home is across the street from their church and cemetery. Immediately

after the Olson family was notified that John had been killed, and before John’s remains were

returned to Sabin, the Olson’s built a memorial and flagpole at the cemetery. Everyday for the rest

of his life Sigurd Olson, and other members of the Olson family, were able to look out the window

of their family home and see John’s grave.

       Susan testified that earlier in October, John’s father sent John a pair of running shoes. Her

father was further devastated when the shoes were returned after the bombing. Ron and the other




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family members testified that their father never recovered from the John’s death and their father

was mad at the politicians who sent his son to Beirut because he felt that the rules of engagement

made them sitting ducks.

       After the Beirut bombing, John’s father began to drink excessively. In 1990-91, John’s

brother Ron organized a family intervention for his father and mother. The intervention was a

difficult family effort but afterward Sigurd Olson attempted to control his drinking.

       BERTHA OLSON (Deceased) was the mother of John A. Olson (Deceased) and she died

in August 2000. John’s sister Susan testified that John respected and loved his mother and the

whole Olson family testified that John and his mother had a very close relationship. John always

remembered her on her birthday and Mothers Day; even when he was deployed with the Marines

he made sure she received a gift from him.

       John’s sister Mary testified that her parents were nervous about John being in the Marines

and his deployment to Beirut. John’s mother was more nervous because she thought she wasn’t

being told the complete story.

       On October 23, Mary woke up and saw the news story about the Beirut bombing on TV and

about 7 A.M. she called her mother. Her mother had not heard about the bombing until Mary

called. During the telephone call Mary heard her father scream; he had just heard about the Beirut

attack on the radio and he began yelling. The Olson family was afraid because they knew John was

in Beirut and that John was housed in the building that was bombed. Each day that went by the

family became more worried but the family was still receiving letters from John.

       Wendy testified that everyday since John was killed her mother looked out the window at

the cemetery, the grave of her son, and the flagpole and plaque in his honor. Wendy testified that

she spoke to her mother about the cemetery and her mother told her she felt comfort knowing her




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son was close where she could visit his grave everyday and she cry for her son. John’s mother was

proud of her son and his death for his country.

       Julia agrees with her other brothers and sisters that their mother was never able to accept

John’s death and Julia believes her Mother made a decision that she didn’t want to continue to live.

       ROGER S. OLSON, brother of John Arne Olson (Deceased) was born November 24, 1954

and was seven years older than John. Roger is the Special Administrator of the Estate of Sigurd

and Bertha Olson and the Personal Representative of John Arne Olson.

       The Olson family was a very close family and John lived at their parent’s home until he

entered the Marine Corps. John and their father had a close relationship. They both enjoyed

hunting. Being older, Roger moved out of the house but he was in the family plaster business.

Everyone in the family worked together. Roger believes it is possible that John would have joined

their father in plaster business. All the brothers are involved in that industry. The family business

is called Sig Olson & Sons Plastering Company.

       Their mother’s relationship with John was definitely close. Mom was close to all the kids.

It hurt profoundly for Mom to lose John. Their closeness became evident when John was gone and

their mother spent the rest of her life missing him. Roger feels that having John buried in the

cemetery right across the street from the family house did not help her but it seemed a good idea at

the time. Their mother was extremely sad and shocked when they got news John died. Their

parents were practicing alcoholics and after John died they drank more. It affected several family

members that way including Roger.

       Roger was living in a condo in Fargo, South Dakota, with wife and daughter on October 23,

1983. The day of bombing they were visiting friends in another city and in church that morning

and the Minister “said a prayer for the Marines killed in Beirut.” They did not think John was




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involved. It was commonplace to hear of deaths in Beirut. When Roger got home he called and

checked and if they had heard from John. It started to hit home then that maybe he was dead.

Roger returned to the Fargo, North Dakota area that same afternoon. He believes he drove to

Sabin, Minnesota, to family house at that time. Roger lives within ten miles of parent’s house.

       Roger visited with his parents the evening of October 23rd. His father was trying to get a

hold of people to find out information on John’s status. He was able to call and talk to one of

John’s friends who had not seen him since Saturday, the day before the bombing. The assumption

was that John was just helping others. Wednesday morning the Marines informed then that he was

missing in action. The family held onto hope because they did not have definitive word that he was

killed. It was a jolt that he was missing. The next Saturday they learned John was killed.

       Roger received letters from John while he was in Beirut and John made it clear that it

seemed like a combat situation. It was not called that but John made it clear. John was the

assistant to Chaplain Wheeler. It was possible he was out ministering.

       Roger did not speak to his father about John’s death. He did not share anything about how

he felt with Roger. Roger did not have emotional conversations with his father. Roger became

closer to his mother after the death of his wife in 1999. They shared more emotional conversations

then. He does not remember specific conversations with his mother.

       The whole family was at the airport when the body returned. Frank McAlister escorted

John’s body. They body came off the plane and they were standing on the taxiway at the time and

it went into a hearse and went to the funeral home. It was an open casket funeral. At the visitation

Roger remembers they gathered in the lobby area of the funeral home. They signed in the guest

book. One niece scribbled in the guest book and that hurt Roger a little. During the time between

notification and the body returning there were several times the press interviewed family members.




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After the funeral a reported from Minneapolis spoke with Roger for an article. Roger estimated

that there were 600 – 700 people at the funeral. It was a military funeral and John was buried in the

cemetery in Sabin, Minnesota.

       John’s death changed their mother in that she became more of a reclusive. She very seldom

left the house. It escalated her drinking. Losing a child is very difficult and it was true in his

mother’s life. She had her chair at the end of the table that she sat in and she ran things from there.

In end of 1990 or 1991 she had difficulties with her legs from diabetes and she became wheelchair

bound. She always was a homebody but it became more exaggerated after John’s death.

       Although there is a separation in age, it appears to Roger that brother Ron was very close to

John and his death affected Ron very much. They had a lot in common. Ron was very proud of

John for joining the Marines. Ron also was a Marine. They shared their alcoholism and recovery.

It became apparent that it was a sever trauma for Ron to lose John. Ron became more willing to

share on an emotional basis. The whole family struggled with emotional closeness before John’s

death. Since his death they are all more emotionally close. They are in competitive businesses and

do very well with it. Roger and Ron have spoken about the loss of their brother John. Several days

before Roger testified in this case he was talking to Ron about the case in general and Ron said that

it affected him very much and he did not know if the resolution of the case really mattered because

the loss was irreplaceable.

       Roger believes John was a hard worker and he may have been involved in the plastering

business although he had tons of options. He probably would have been working in the family

business.   He would probably have finished schooling and entered the construction trade or

mechanics but he never mentioned it specifically. John was smart enough that he could have gone

on to college. Roger is an accountant.




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       The Olson parents attended John’s graduation from bootcamp. John was 19 years old when

he joined the Marines and just 21 years old when he died. He was in for two years before he went

to Beirut. Their parents were proud that John joined the Marines. When John went to Roger went

to airport to see him off. The whole family went to 1993 memorial for the ten-year anniversary.

       Roger said that it seems like the people that are responsible for so many terrorist activities,

not just Beirut, are let off the hook and that is wrong. If they had been dealt with 20 years ago then

maybe 911 would not have happen. We are finally doing something in Iraq and that is good. It

would be nice to punish them to the point that they think twice before doing anything again. That

probably will not happen. They will continue to harbor terrorists. He is not sure when it started

and not sure if he sees an end to the terrorism.

       MARY E. BAUMGARTNER, sister of John Arne Olson (Deceased) was born on October

30, 1956. Marry was married to Rick Baumgartner on August 21, 1976 and they have two sons

Jarrod, 26, and Joel, 24. Mary works out of her home as medical transcriptionist.

       Mary is middle child of the Olson family. Mary is six years older than John. Growing up

with John she remembers little things from their childhood like when he broke his leg when he fell

while skiing behind the snowmobile. Whole family is very close, although some members are

closer than others.    They did things together a lot.        In high school John was interested in

woodworking and auto. John was an average student. All the Olson children graduated from the

same high school. John was on wild side during his teenage years and the Marines helped him get

his life in order. Mary had moved to Lincoln, Nebraska when John went into the Marine Corps.

John wanted go to college after the Marines. John would have eventually gone into family

business. Their parents were very supportive of John joining the Marines. There is a line of

military




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          John challenged things and people.     He challenged their parents a lot.     He smoked

marijuana and drank booze. John said bootcamp was very rough but he was tough enough to do it.

Mary saw John last in June of 1980. She had given birth and John came to hospital and wanted her

to name her second child John. She did not because there were so many Johns in family. John was

there for her son’s birth.

          Mary saw John every time he was on leave and would go home to Sabin, Minnesota, every

time he came in on leave.

          Mary was aware of some of the situation in Beirut. She was not aware that the Marines had

no ammunition until she learned about that after the bombing. That upset her father a lot. In letters

John made light of the situation over there but he did say it was as much like war as he had ever

seen. Their parents were nervous about John being in Beirut. Mother was worried. “You do not

know everything that is going on.” Mary communicated with John through numerous letters.

          On October 23, 1983 Mary was in Lincoln, Nebraska, and heard about the bombing when

she turned on the television early in the morning. She immediately called her parents; they did not

know about the bombing. While she was on the telephone with her mother she heard her father

yelling that the barracks had been bombed. Mary remembers it very clearly as if it was yesterday.

They were scared. Mary was scared – she knew he was in the building. If he was okay they knew

he would have gotten word to them and as days went on they knew in their hearts he had been

killed.

          The Olsons learned that John died on Oct 30th, Mary’s birthday. She cried hysterically.

She held out hope until the last minute. She packed up and spent the next two weeks at her

parent’s home. There was a lot of bitterness on the part of her parents. Her father never wrote to

John. The situation created some tension although they did love each other.




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       The funeral was on Nov 8th, two weeks after bombing. Family got to see John’s body. He

was hard to recognize him, he looked put together by mechanical means and the only thing that

looked like him was the little dip in lip. He was such a handsome man and he did not look that way

after they put the pieces together.

       There were so many people at the funeral that some people listened from outside of church

because there was not room for everyone inside. Military people came. Many people came to the

funeral that did not know him to just pay their respects.

       Mary has always discussed John with her children and so to have their aunts and uncles. If

John had lived he would have hunted and fished as an annual event as her children do now. John

would have been right in there with them. She kind of wished she had named her child John but he

left such a legacy on earth that it is more than just a name.

       Every October 23rd they think about the bombing. Typically she just talks with her brothers

and sisters and they support each other. She never sought out counseling. When someone joins in

military you always know that chance that this cam happen. Sometimes tragic circumstances

happen. She is glad that it was a suicide bombing and that that guy that did it is gone.

       Given the opportunity to speak with the leaders if Iran Mary would not be able to look at

the or speak to them. She would be angry and would not know what to say. Mary and her family

do not care about the possible monetary award from this lawsuit but she wants to take funds from

them so that they cannot continue to fund terrorism. Too many innocent people are being killed

and if take the money away then the terrorists will have less of an opportunity to do harm.

       All of the Olson family went to the memorial in Jacksonville. It was nice that they went

and saw the memorial wall. They bought books and learned what others said about Beirut. They




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got to meet lots of John’s friends, including Dan Joy. It was a chance for the family to talk to his

friends and for his friends to talk to the family. Got to see Camp LeJune where John was stationed.

       John was in Beirut on a peacekeeping mission, our government never called it war even

though John said it was like war. They were sitting there without protection. Someone in the

media described them as sitting ducks. Mary is angry. Our military could have done a better job

protecting these guys. The many terrorist acts since the Beirut bombing have deeply affected her

and she wishes it was not covered so much by the television media because it stirs up so many

emotion for so many people.

       JULIA A. McFARLIN, sister of John Arne Olson (Deceased) was born on December 6,

1942 was 20 years older than John. Julia was 41 years of age at the time of his death, she was

married and Julia and her ex-husband owned a farm. John visited her at the farm and enjoyed

hunting there.

       After John joined the Marines he told Julia that in Beirut it was as close to being at war as

he could think of being. The Marines had changed him. Julia saw him the Christmas before he

died, 1982, while he was home on leave. When John was deployed to Beirut Julia got letters from

John. John was the assistant to Chaplain Danny Wheeler.

       Julia learned of the bombing on October 23, 1983 at 2:00 A.M. when her sister Susan and

her boyfriend came over and told her about the bombing. Susan wanted to be with her sister Julia

so that Julia would not be alone when she heard the news. Julia knew the Marines hadn’t found her

brother and she packed up some things and went to stay with her parents and wait for word of her

brother’s fate. Julia was at her parent’s home in Sabin that Saturday morning at 6:00 A.M. when

two Marines notified her parents that John’s remains had been found and identified. Julia testified

that her mother and father were devastated and angry. Julia testified the Olson family was not an




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emotional family and they tried to hide their grief from the public. Julia remembers her father

going for a walk and her mother going to her room to cry and became detached. They all cried.

She testified that her parents were very angry that their son had been killed.

       Julia recalled the funeral: the church was crowded and it was cold outside. People were

standing outside. Her 97-year-old grandfather was there. He said it should have been him. They

had a service and buried him in the town cemetery. She remembered that there was a military gun

salute. The family built a memorial at the cemetery, including a flagpole, which they can see from

the Olson family home.

       Their mother never really recovered or came to terms with John’s death until the day she

died. Sister Karen was deeply affected by John’s death. Ron, the oldest, he was in the Marines in

Vietnam; he was very troubled by his brother’s death. Being in the Marines himself he was

devastated that John was killed while in the Marines, he and his brother loved the Marines.

Brothers Roger and Randy lost a good friend. They would go hunting together. None of the Olson

siblings have gotten over John’s death because the younger “kids” were all very close. Julia had

moved out and the “kids” lived there together, the seven were close in age.

       Julia doubts if their father or mother ever received professional help and they should have.

Mother suffered from depression after John died. Julia did not need professional help. She lived in

the Twin Cities and she did not get home that often.         Julia thought it was just a peacekeeping

mission. Julia believes something has to be done about the terrorists. She believes our government

pampers them. It does not look like our government knows what they are doing. They are killing

people left and right and it continues. Julia would swear a little at the Iranians: don’t they care at

all about human life, if they have religious issues then why take it out on people. Most wars fought

over religion.




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       At funeral home Julia viewed her brother’s body. When she saw that half of her brother’s

body was missing she broke down. It was terrible and her brothers had to come and console her so

that she did not go off the deep end. Julia was a sibling but she was more like a parent to John.

       WENDY L. LANGE, sister of John Arne Olson, was born on June 7, 1965. Wendy was

married to Christopher Lange in 2001 and is employed as marketing coordinator for software

company in Fargo, South Dakota.

       John was a typical teenager; he was troublesome sometimes. John was a good guy and was

always helping people out. He would give Wendy rides to town and he never complained. John

partied and had a lot of friends. He was fun and never wanted to hurt a fly. John liked outdoor

activities. He was a wrestler at school and loved it.

       The relationship between their father and John was very good. Their father thought the

world of John. John needed a change and that is why he joined the Marines. He was partying quite

a bit. He needed a goal because he did not want to live his life like that.

       John was excited about being the Chaplain’s clerk. He loved starting his AA group there.

He never let on that things were dangerous. Wendy thought he was there helping people.

               John wrote to everybody in the family individually. The content would vary sibling

to sibling. He wrote very personal stuff about what Wendy was going through as a teenager. She

was setting goals and determining what going to do with her life. He made a difference in

Wendy’s life and made her open up her eyes and make something of her life. She had a DUI and

smashed the can and John said: “You are ok and just think about it and keep going. You’ll be ok.”

Wendy could say things to John that could not say to her parents because of the age difference –

Wendy is the youngest of the Olson children.




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       October 23, 1983 Wendy was living at her parent’s home and was in bed when the bombing

occurred. Her parents found out about the bombing and told her. Wendy thought “Oh my God.”

Her father confirmed the John was in the building that had been bombed. They learned that some

people, including Chaplain Wheeler, survived.

       Wendy recalls that a couple of Marine Sergeants came to the house and said John was

missing and then a few days later they learned he was dead. The reporters were around and they

handled it very gracefully.

       There were four to five hundred people at John’s funeral. People stopped by the Olson’s

home for weeks and weeks. Her mother had the hardest time. As soon as she found out he was

confirmed dead she went into her bedroom and cried for a week without even eating. They finally

got her out. The people were gracious and let the family have time to grieve.

       Seeing John’s body in the casket was devastating; he did not look anything like what she

remembered from the last time she saw him. She imagined what he went through. They had to

reconstruct his face. His face was probably blown up – she was thinking the worst possible

scenario. She did not deal with the grief very well. She had just started college at Moorhead State

in September 1983. She failed out of college that year; she couldn’t concentrate and she was

drinking quite a bit. She had a difficult time and could not get it together emotionally for at least a

year. She finally thought what would John want her to do. She wanted to go to school and become

successful and that is what her brother would have wanted her to do.

       John is buried across the street from the Olson family home and the flag memorial is visible

from the window. It comforted her and she could visit him everyday. She would cry for him and

maybe she was crying for herself. It was good to see the flagpole. She is proud of him and he did

not die in vain. He is there and taking care of us.




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       The Olsons are a big family and the death drew them closer than they already were because

they realized that life can be very short. Some family members made big changes. People are

amazed that they are as close as they are and that they really like each other.

       She has discussed John’s death with her husband and he is mad that he did not get to meet

John. They would have gotten along very well. There are a lot of people that did not get to meet

and know John.

       Wendy would tell the leaders of Iran: “How could you do such a thing?” She does not have

mixed feelings; she is angry. “How could they destroy the lives of those young people? What

gives them the right? Who do they think they are?”

       If John had lived Wendy believes he would have become a counselor, as Karen thought. As

John went through the Marines he became a very religious man and he would have done something

in the church or a counselor. Wendy does not believe John would have joined the family plastering

business because it would not have been enough for him

       From this litigation Wendy wants terrorism to stop – it needs to end. Wendy feels the pain

that other families have gone through as victims of terrorism like 911. Wendy has not really

recovered and she still has her fair share of problems. She has a wonderful husband and life. John

was the first lost and the hardest. He was her big brother and her protector.

       RONALD OLSON, brother of John Arne Olson (Deceased) was born July 7, 1944 and he

was 39 years of age when his brother John was killed. Ron is veteran of the Marine Corps who

served in the Corps from 1965 thru 1968. Ron is a combat veteran whose service included

deployment to Viet Nam.




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       In 1980 Ron was the first member of the Olson family to recognize that he was an

alcoholic, he joined Alcoholics Anonymous and has been an active member since, attending daily

AA meetings.

       In 1980, at the same time Ron was dealing with his alcoholism, John recognized that he had

a problem with alcohol. John was 18 years old at the time; John spoke to Ron and both supported

each other and both attended AA.

       John and Ron exchanged letters often. That had a unique bond built on shared experiences

and interests. Both were recovering alcoholics, active in AA, and both with service in the Marine

Corps. After his deployment to Beirut in 1983, John needed to continue to attend AA meetings and

he discovered there were no AA groups in Beirut. John asked civilians and Marines if they would

be interested in forming an AA Beirut group. John organized and set up first AA group in Beirut.

John publicized the new group by dropping AA literature over Beirut from a helicopter.

       The headquarters of Alcoholics Anonymous was so impressed with John’s efforts that his

letters to them were re-printed in their newsletter “The Grapevine” in April 1984. Several years

later Alcoholics Anonymous published a book with 100 of the top Grapevine stories, John’s letters

were re-printed in that historical reference work.

       On October 23, 1983, John’s sister Karen was living with Ron and woke Ron up on that

Sunday morning. Wendy called and told Ron and Karen of the bombing and that the barracks were

destroyed. Ron and Karen thought John was safe but as the day went on, and more and more news

stories were broadcast, they began to get very worried and by the afternoon of October 23, 1983

they were very upset.

       Ron recalled that his father was able to call the Sergeant of the Guard at the Beirut Airport.

The Sergeant knew John but told John’s father that he hadn’t seen John since Saturday.




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          On Wednesday the local Marine recruiter called Ron and told him that John was officially

listed as missing-in-action. Ron and the recruiter went to the Olson residence and told the family

of this development. On the Saturday after the bombing the Marines delivered the news that John’s

remains had been identified and he was listed as killed-in-action. John’s father didn’t want to

know. Ron believes his father was hurt most.

          Ron and the rest of the Olson family met John’s casket and accompanied it on its trip to the

funeral home for a private, open casket service. Ron was unable to attend the viewing, he almost

fainted in the parking lot and he was too emotionally hurt to participate.

          The Olson family has two independent plastering businesses and Ron testified that John

could have gone into the family plastering business. Ron thought John would have become a

counselor or gone into seminary. John had great potential in a number of areas because he was

very intelligent. He had a problem and confronted it. John and Ron exchanged many letters and

John shared some of the combat issues and his efforts to control his alcohol problem and help

others.

          Ron testified that when John died a part of him died and he has only gradually gotten better

after twenty-two years. Ronald has missed John everyday since his death. Ron has two daughters

and three stepsons who, had John survived, would have known John and been influenced by him.

Both Ron’s daughters knew John. Ron’s oldest daughter was only ten years old when John died

but she and John were friends.        She is now 33 years old, and she goes with her father to

remembrances at Camp LeJune. Ron and his daughter attended the 5-year, 10-year and 15-year

Beirut remembrances. Both Ron’s daughters remember their uncle John and they know they were

both cheated out of a great relationship with him.




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       Ron believes John was the best of the Olson family. On 911, and after every terrorist

attack, Ron has flashbacks. He feels he suffers from Post-Traumatic Stress Syndrome from the loss

of John. He remembers and never forgets. Ron worshiped John and John helped him in so many

ways and is the reason Ron has been sober for twenty-two years. Ron saw what John was doing for

others and, even though John was 18 years younger than Ron, John was Ron’s hero.

       Ron is a member of Beirut Veterans of America and he read their code: First Duty is to

Remember.

       John’s friend Jake Schneider was trapped in the explosion but survived and he visited the

Olson family in Sabin, Minnesota and his visits a testament to how much he honored John.

       John’s death caused their father and mother to drink more. The trauma from John’s death

caused their drinking to increase and became more frequent. Their father’s drinking was a problem

and Ron recognized the problem and arranged an Olson family intervention for their father and

mother.

       Ron has a plaque memorializing the peacekeeping force in Beirut (Exhibit 44) which was

found at the blast site by U.S. sailor during the rescue attempt. That sailor’s mother-in-law knew

the Olson family and the letter from that sailor to his mother-in-law was given to the Olson family

and was buried with John.

       Ron testified that the Olson children were separated in age into two groups, John was one of

the four youngest of the Olson children, and those four children were also very close.

       Ronald Olson still attends AA meetings daily and discusses John frequently.

       JANA CHRISTIAN, sister of John Arne Olson (Deceased) was born June 1, 1945. She is

married to Gary Roy Christian and they have three children. Jana suffers from Alzheimer’s

disease. Jana M. Christian suffers from apparent dementia and her memory of her brother John




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was basic.    She remembers her brother, loved her brother, and knows John is dead.           Jana

Christian’s husband presented a letter they received from President Ronald Reagan in response to a

letter they sent to the President sharing one of John’s letters (Exhibit 24).

       SUSAN SINSIOCO, sister of John Arne Olson (Deceased) was born January 1, 1960.

Susan was married in 1993 and has one daughter.

       In 1983 Susan was 23 years old and living in the Minneapolis area, she had moved there in

1980 from Sabin, Minnesota.

       Susan remembers that her brother John enjoyed football and wrestling in high school. He

graduated from Moorehead High School and joined the Marines. She recalled that John wanted to

finish his time with military and return to Moorehead and go to college and work in their father’s

plastering business.

       Susan and John were close as brother and sister but not as close as really good friends.

They did things together and knew what was going on in each other’s lives. They were in high

school together for one year. Sister Karen was the closest to John. Karen and brother John talked a

lot about each other’s lives. They knew about each other’s problems in life. He wrote more

meaningful letters to Karen and he trusted her and could say anything to her.

       John respected and loved their mother. He was very good to her on birthdays and Mothers

Day and he made sure when in the military that she got gifts somehow someway. John wanted to

work in dad’s business and he would forego some youth activities to work with his father. Brother

Ronald was in the Marines in the 1960’s.

       John was in basic training in Camp LeJune and then Camp Pendleton in California. After

that he had a tour in Europe and then returned to Camp LeJune before he was deployed to Beirut.




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       She saw the coverage of the bombing in Beirut on the news at about 11:30 A.M. that

Sunday morning. She kept watching the news to find out what she could. Susan called sister Julie

that was living in Minneapolis at the time. They did not call anyone else so as not to get or share

bad news. She is a Minnesota Vikings fan and would get up to watch the game but that morning

she got up earlier and turned on the TV and there it was on the news. She spoke to her parents later

that evening. Her parents had not learned anything more than she knew from watching television.

       Wednesday after the attack she heard John was considered missing in action. They had not

found his remains or signs of life so he was considered missing in action. John wrote letters and

mentioned it was scary in Beirut and described the loss of life and that he thought it was important

to be there. John established an Alcoholics Anonymous in Beirut for the servicemen there. The

family just waited and talked to each other and were there for each other. Susan and Julie went to

Minneapolis to be at their parents’ house. The Saturday morning following that a Marine came to

door to say they found his body and that he was dead. Part of her was ready and yet how can you

ever handle it when someone so young dies. She had to be strong because parents were having

hard time and it was just she and her sister there with them. Their mother did not want to talk or be

around anyone for a few days and she shut herself off in her bedroom.

       Their father would sit up late and watch television while waiting for news about John and

fall asleep at the kitchen table. That Saturday morning when the Marines came their father was

sleeping at the table. Karen was totally devastated and felt that she had lost her best friend. John

was her best friend and she did not know what to think. Karen has had problems since John’s

death. She attempted suicide and had trouble in relationships because of the loss of her brother.

Karen has been to counseling. No one else in the family has gone to counseling that she knows of.




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        When John died their father cried for the first time ever. Their father crying was a surprise

because he was not a real emotional man. After that he became more emotional. It was apparent to

them that their father had deep-seated anger about the whole thing.

        John’s body was returned to the United States at least two weeks later. Susan remembers

that at the funeral home she was allowed to view his remains with the family. The actual funeral

was across the street from family’s house with seats set out outside the church because of the large

number of people in attendance. John buried in cemetery across street from their parent’s house.

There is memorial and flagpole there in honor of John.

        Her mother spoke more to Susan after John’s death about different things. For the most

part her mother was not open about her feelings and did not show emotion. She did not want to

talk about John at all. She stayed in her bedroom more after John died. Her mother spoke to a

local Pastor because she felt angry with God, “What kind of a God would take a young man like

that so early in his life?” She did not want to have anything to do with the Pastor or God.

        Susan stayed in Sabin at her parents' house until early the next week then she and her sister

returned to Minneapolis. The Olson family speaks about John a lot. Karen still misses John a great

deal to this day.

        Parents seemed angrier since John’s death and seemed to pull apart from each other and

there was bitterness in her mother that lasted until she died. They never discussed it but you could

just see it.   Karen has anger towards war in general and whole Middle East situation including

what is going on now. Every time she hears of a soldier dying it breaks her heart because she

misses John so much and she knows what that other family is feeling.




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       Susan would like to tell the leaders of Iran that whatever they can do to stop war and

bloodshed in this world is what God would want them to do – no matter what God they believe in

there must be peaceful ways to solve problems and differences. Families are hurting because of

their actions and heads of groups that are killing others and someone must do something about it.

We hurt and people are continuing to hurt. Family member are being lost and there are people that

can do something about it and she wants to pray that it stop. She knows god will do something

about it and she would like to see it stop.

       Susan explained that the Olsons are a close-knit family that share each other’s lives. She

wants to spend time with her family because since she lost her brother in 1983 she never knows

when another could be lost and she does not want to feel that pain again. Susan has joined in this

whole proceeding to take funds from Iran so that they cannot continue to finance terrorist activities.

Susan believes our President does not want this to happen. She is frustrated that the President does

not see the importance of stopping Iran and she wishes he would understand that this is peaceful

solution that will not hurt people. There are peaceful and better ways to get same ending

       Susan said that if her brother John had lived he would probably be married with kids of his

own that would be playing with her daughter. Susan’s daughter Lora loves her cousins and that

would be another set of cousins to have. Susan has told her husband about her brother and how

brave he was and how proud they were of him and the way he enjoyed life.

       KAREN L. OLSON, sister of John Arne Olson (Deceased) was born on December 29,

1960. Karen is married with one child. Karen testified that the Olson’s bought their home in 1960

and the family, which included seven Olson children then living home, moved into the Sabin

residence.




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          All John’s survivors, who could testify, agreed that Karen and John had the closest

relationship which included a deep emotional attachment. John and Karen were the best of friends,

they grew up together, and they were both very much alike. They were both caring individuals.

                John was popular in school and had a job at the local drag strip. Karen recalls when

John was involved in a car accident and wrecked his father’s car by hitting a light pole. Karen,

Wendy, and John went to counseling together.

                Karen testified that her Mother was scared and didn’t want John to deploy to Beirut;

she had a sense of doom. Karen testified that her Mother was not surprised when John was killed.

                Karen saw John, for the last time, in April 1983. John’s letters to Karen were

personal and heartfelt and he did not discuss the combat environment with her. In September 1983

John sent Karen his last letter, that letter told of him crawling on the floor and dodging bullets and

that he felt they were sitting ducks.

                In October 1983 Karen was living with her brother Ron and at about 6 or 7 A.M. she

got a call from her sister Mary who told her about the bombing. It never occurred to Karen that

John might be dead, she though he would be out helping others.

                In October 1983, her brother Ron was a recovering alcoholic and he spent a lot of

time at AA meetings. When Ron was not in meetings he spent a lot of time alone and didn’t speak

often.

                The local Marine recruiter knew Ron and called him to notify him that John was

officially listed as missing in action. Ron told Karen of this development on Wednesday at 5:00

A.M. On Saturday, when Karen was told John had been killed, she just cried in the arms of her

fiancé.




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        Karen testified that her mother knew right after the bombing that John had been killed; her

mother had an immediate feeling, even before the family was notified that John was missing in

action. After the bombing her mother went to her room, didn’t speak, didn’t eat, and didn’t leave

her room. Karen testified that it was like her mother died with John.

        Karen remembers her father drinking a lot and crying all the time. She remembers that her

father couldn’t stop crying. Karen believes her father was both physically and emotionally unable

to talk to his family about John.

        Karen went to the viewing and didn’t recognize John. Karen doesn’t remember much about

the funeral. She remembers there were over 1,000 mourners at the funeral. She remembers them

lowering the casket and she remembers she was standing next to Jake Schneider. Karen fainted

and she fell against Jake Schneider. She remembers her fiancé ran and caught her and carried her

home. Karen remembers everyone drinking at her parent’s house and many were drunk. She

understood that that is how they dealt with death.

        John’s death devastated Karen; she did not know what to do next. Karen attempted suicide,

suffered relationship problems, and alcohol became a problem again. Karen sought counseling.

        Today Karen has anger about war in general and the Middle East in particular. Karen’s

brothers and sisters testified that every time that a soldier dies it breaks her heart.

        Ron testified that Karen and John were very close and had a deep emotional attachment.

Karen and John grew up together and Karen admired John. Karen and John were very similar; they

were both caring persons.

                In June 1983 Karen quit drinking and got into AA and wrote John about her

decision. John wrote Karen back on July 3, 1983 with his longest letter.




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       Ron and Karen sat down together two days after the funeral and discussed each of their

relationships with John. Karen and John had a lot of things to talk about but they never got a

chance to speak about them face to face and Karen knew that John loved her unconditionally.

               Karen’s mother held everything inside and was angry; her mother forgot about the 9

other children. In 1990 her mother was diagnosed with cancer and she was given a 20% chance of

survival. Until 1990, Karen believed her Mother lived like she died inside when John died. Her

mother lived another eleven years, began to visit her other children, and began a new life style.

After her mother was diagnosed with cancer, she demonstrated love for all her children and began

to live like anyone could die anytime so it was important to love her children. Their mother and

father were proud of John and they asked Karen if she blamed them for alcoholism issues.

               Karen feels terrible for families in conflict or with family members in combat. And

when there is news of any new suicide bombing Karen feels sad and broken hearted for herself and

for the other families.

       RANDALL D. OLSON, brother of John Arne Olson (Deceased) was born on January 10,

1958 and was 39 years old when his brother John was killed. Randy was married to his wife,

Vicky, in June 1985 and they have three children, two of their own and one from his wife’s

previous marriage.

       In 1983 Randy was 25 years old, John was 4 years younger than Randy. Randy was not

living at his parent’s home in 1983. John graduated in 1980 and Randall in 1976. John spent time

on wrestling team and baseball. He loved sports. Randy graduated and went into the family

plastering business; John was still in high school. Randy still knows a lot of John’s friends because

of their closeness in age. His father and John both loved the outdoors.




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         Family has history of problems with alcohol. John and Randy were a lot alike when it came

to their father because they hunted and fished together. They spend a lot of time fishing in

Northern Minnesota.

         John and Mom were very close. He always helped mother around the house; he would take

care of the chores for her. It was a very good relationship.

         Brother Ron helped John with problems with alcohol. Randy was not in favor of John

joining the Marines because he was not fond of the President’s record with military. He does not

want his adoptive son to join military.

         John had to hold off on joining Marines because of an injury from an alcohol related fight

when he cut his arm. This injury caused a two to three week delay in his entering the Marine

Corps.

         John was a Chaplain’s assistant.     Joining the Marines and preparing for the Marines

changed John 180 degrees. John and Randy wrote letters back and forth and kept pretty good tabs

on each other. It is possible John would have gone into counseling but he could have done

whatever he wanted because he had great potential.

         All the Olson brothers are in two plastering businesses – they even compete. It would have

been great to have John in business. Randy participated in the Big Brother program and John

would have liked the family he mentored. Randy was best man in the boy’s wedding. After John

died Randy’s life changed. You make changes when change happens. Randy’s children missed

the opportunity to meet, know, and spend time with their uncle John. Randy tells them about John

and tells them how life can change.




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       John shared the scope of his duties and the risk involved with Randy. Randy knew about

the situation in Beirut from television. One letter from John said it was called a peacekeeping

mission but it was getting more and more like war every day.

       On October 23, 1983 Randy was at the Doublewood Inn in Fargo, North Dakota, with a

girlfriend attending a wedding. That morning he saw a television in the lobby and heard about the

bombing. When he returned home he looked at letters from John and checked address and it was

the same building that he saw was bombed. Randy went to his parent’s house that afternoon. Then

on Wednesday they heard John was missing. The Marines came to his parent’s house at six in the

morning and Randy was back at his parent’s house within an hour. Then on Saturday news came

that John was dead. Randy was not there he had taken his hunting stuff and went pheasant hunting.

He had to get away. He was not gone very long when his mother called and told him that John’s

remains had been identified and he was back at his parent’s house in two hours.

       His father and mother had a hard time with John’s death. They were the backbone for each

other. They were great support for each other. He recalls his mother taking some kind of

relaxation medication. Both of his parents suffered anxiety from not knowing for seven days.

       Both parents were functional. The whole family tried to help each other. His father really

had a hard time. He cried a lot. Randy had never seen his father like that. He never saw his father

cry much in his life but this was the worst he could imagine. He was not afraid to cry when anyone

else around. He even cried when media interviewed him. His mother did not cry as openly around

people as father did. This changed his parent’s life until their death.

       Randall and his dad spoke about the hunting and fishing times with John as they continued

to hunt and fish together. Randy and his father owned a hunting cabin together. The cabin was on

80 acres in the woods that John would have loved to be a part of with them. They used to hunt at




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his uncle’s cabin. They etched their names in the table up there. They talked about that and other

hunting memories. Other brothers did not like hunting as Dad, John, and Randy.

       The Olson family always discussed John at family gatherings. Their parent’s house was

across from cemetery. Their mother had a long life after John was gone looking at the flag. Randy

could not believe that his mother looked at the flag everyday from the table where she sat. He told

her to at least move the table. They were going to move and he was up at his parent’s house

packing when she died. Randy thinks she died because she did not want to move. Being there next

to the cemetery helped them keep John right there with them.

       Karen and Ron took John’s death the toughest; they had the hardest time dealing with it.

Karen and John were close and close in age. They had different friends than Randy. Ron and John

had a close relationship. Randy never spoke to Ron much about John’s death. Randy and Roger

are partners in business and they speak about it more. They talked about the problems John had

before the service and how much he changed. John set up an AA chapter in Beirut and Ron largely

responsible for that. Randy was not involved in the AA group because he does not have a problem

with alcohol.

       They had an intervention with their parents. Drinking was an issue with them and they did

something about it. Losing John contributed to their parents’ drinking problem. Stress would

cause alcoholism to worsen he would imagine. He recognizes the issue and was part of the

intervention. Their mother then stopped drinking after the intervention and if she had not he

believes she would not have been with them another two years.

       John would probably have been a partner of Randy or Ron in the plastering business.

Randy knew John liked being a Chaplain’s assistant and did not see him much after so he does not

know what influence that would have had on his career decisions.




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        Randy and their father were close because they had time at cabin at the table talking. Many

times his uncles would join them. They talked about his fathers experience in Korea. He maybe

discussed it with Ron because Ron was in Vietnam, but he doesn’t know. Randy was closer with

father than other siblings. Randy could talk to his father real well about John and Beirut.

        The 911 terrorist attack brought up emotions for him. People cannot believe that they lost a

brother in Beirut. Their Pastor in the Hawley church lost a brother-in-law in 911 and then he

learned that Randy lost brother in Beirut and so they sat down and talked a long time. Randy has

memories when terrorism comes on the news.

        Randy went to the 10-year anniversary in Camp LeJune. He met some of John’s friends

and acquaintances. They all said great thing about him. They told him that John fell out of a

helicopter – but said they should ask Ron about it. The entire family went to the event.

        Randy never saw his brother’s open casket – he arrived later and casket was closed and he

said he did not want to see the body. The funeral was a full military funeral and very intense. He

remembers most at the end when he and his sister Wendy embraced in the worst crying hug he has

ever had. The hardest part was the gun salute and every time he hears a gun salute on television it

brings back all the hard memories. Terrorist acts bring back memories of his brother and the

pageantry of a military funeral brings back memories to him. These things reinforce the pain of the

loss.




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                                     CONCLUSIONS OF LAW

       (1) Wrongful Death.

       The Plaintiffs produced comprehensive testimony from Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of John

Arthur Phillips, Jr. in the amount of $1,010,497.00.

       (2) Survival Action – Pain And Suffering.

       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent’s comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Estate of Sigurd Olson (father) -

$10,000,000.00; Estate of Bertha Olson (mother) - $10,000,000.00; Julia A. McFarlin (sister) -

$10,000,000.00; Ronald J. Olson (brother) - $10,000,000.00; Jana M. Christian (sister) -

$10,000,000.00; Roger S. Olson (brother) - $10,000,000.00; Mary E. Baumgartner (sister) -

$10,000,000.00; Randall D. Olson (brother) - $10,000,000.00; Susan J. Sinsioco (sister) -




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$10,000,000.00; Karen L. Olson (sister) - $10,000,000.00; and Wendy L. Lange (sister) -

$10,000,000.00.


Date: August 10, 2006




                                       _________________________________________
                                       Loraine A. Ray,
                                       Special Master




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